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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:06CR116
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )               AMENDED ORDER
                                            )
CHARMAR BROWN,                              )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s motion for new trial (Filing

No. 579).

      After careful consideration,

      IT IS ORDERED that the Defendant’s motion for new trial (Filing No. 579) is denied.

      DATED this 7th day of November, 2007.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
